Case 1:05-md-01720-MKB-JAM Document 9286 Filed 05/06/24 Page 1 of 9 PageID #: 541364
                                                                      FILED
                                                                 IN CLERK'S OFFICE
                                                           U.S. DISTRICT COURT E.D.N.Y.

     Clerk of the Court
     225 Cadman Plaza
                                                           * MAY O6 2024 *
     Brooklyn, New York 11201                              BROOKLY~             FICEt
     VIA USPS CERTIFIED MAIL
                                                                           May 3, 2024

     Re: Payment Card Interchange Fee Settlement
     MDTix, LLC EIN XX-XXXXXXX

     Hello,
     I am contacting your office out of frustration with the process to submit a claim and receive the
     proportionate settlement. The organization handling the process is being unresponsive and I am
     concerned that my claim will be denied since the deadline to file is May 31, 2024.

     This is a quick history on my interaction with the settlement administrator.

     1/25/24-My first contact by email with paymentcardsettlement.com. I advised them that I had
     not yet received a claim form and so I had registered on the website to begin the claim process. I
     did receive a reply asking for specific company information (which was submitted to the website
     previously).

      1/26/24 - After replying to their email and providing the requested information, they replied with
      a summary of the process for submitting a claim. (although I had already registered online. Their
      response was auto-generated and again directed me to the website to submit information and a
      claim.

      1/29/24 - I sent a screenshot to the administrator showing my created account and that I did not
      have the figures on my estimated interchange fees during the term. Their response was auto-
      generated and claimed that they were looking into my inquiry and would reply as soon as
      possible.

      2/4/24 - I received two paper claim forms vis USPS to my address. I am assuming there were
      two because I had two different processor during the term. Those forms were completed and
      mailed to the address on the forms via USPS Certified Mail. The mail pieces were both received
      by the administrator on 2/6/24. USPS tracking numbers 70222410000146828931 and
      70222410000146828955.

     2/6/24 - I followed up with the administrator by email once the forms were confirmed as
     delivered. I provided a history of my experience so far and asked that they confirm my claim
     forms. I received a reply on 2/7/24 stating that my inquiry required further consideration and a
     response was forthcoming.

     3/18/24 - I received and email from the Administrator apologizing for the delay in response and
     that they were actively researching my inquiry and that a reply was coming as soon as possible. I
     responded that I was concerned with the amount of time it was taking to simply confirm receipt
     of my claims.

     3/29/24 - I received this message:
      n,ank you for your patience while we researched your inquiry.
Case 1:05-md-01720-MKB-JAM Document 9286 Filed 05/06/24 Page 2 of 9 PageID #: 541365




     Thank you for your patience while we researched your requesting regarding your proof ofauthority
     documentation. The roA dOaJmentation is reviewed in the order that they are received. Please note that this review
     am take time and the determination will not be immediate.
     Please note that registering Is not the same as filing a dalm. Once you are registered and have authority to ad on
     behalfofa Merchant, you will be able to file a daim online.

     If the authority status is "under reviewn or "a,nf/ict", that means the Gass Administrator has to conduct further
     reviews before you are able to file a dalm for that partlwlar merchant The Gass Administrator will reach out to you
     if additional infonnation is needed.

     Gaims were submitted via USPS:
     Please note that at this time, we do not know a specific date by when payments will be made.
     A number of things have to happen before dass members can be paid.

     First, the Gass Administrator will deliver daim forms to Gass Members.

     Second, the Gass Administrator will use the information it receives on returned daim forms to calw/ate the amount it
     believes is due to eve,y dass member.

     Third, the Court must approve the amounts that will be distributed to dass members.
     After the court has approved the daims distribution amounts, the Gass Administrator can begin to send payments to
     Gass Members.

     Please note: It is your responsibility to update the Gass Administrator ifyou move or your contact information
     changes.                 r




      For more information, please call 1-800-625-6440 or visit the settlement website
   .. at www.PavmentCardSettlementcom.

     Keep in mind that I have been 'registered' on the website since Noventber 2023. However, to
     this day, my account status 'Authorization Status - Under Review' and 'Claim Status - No
     Claim Submitted' although I have evidence that the certified mail was received by them.

     4/26/24 - Again, I contacted the Administrator by email to express my growing concern that
     there was no update to my online account regarding authorization or claim status and that I did
     not want to be excluded from the settlement due their lack of progress.

     5/3/24 - I received an auto-generated reply one week later to my 4/26 inquiry. Stating again that
     they were looking into my inquiry and would reply as soon as possible. So it has come full circle.

     I have reached out to my own counsel who said it may be effective to contact your office and
     report the issues with the Administrator. Outside of that, I am uncertain of how I can make any
     progress with them and get the settlement back on track.

     Some additional information you may require:

     Business Name: MDTix, LLC
     Complete Name: Douglas Steven Seligson
     Business Address: 10787 Forest Edge Circle, New Market, MD 21774 (registered address with
     the State of MD)
     Email Address: doug@mdtix.com
     EIN: XX-XXXXXXX
Case 1:05-md-01720-MKB-JAM Document 9286 Filed 05/06/24 Page 3 of 9 PageID #: 541366



    Please advise on how to ensure that the Administrator has the necessary information to process
    my claim and that I will not be excluded because they have not acted in good faith prior to the
    claim filing deadline.

    I can also be reached at 301.401.5161 if you need additional information.

    Thank you for your time in addressing my concerns.




           s Seligson
    Owner
    MDTix, LLC
    301.401.5161
    doug@mdtix.com
                            Case 1:05-md-01720-MKB-JAM Document 9286 Filed 05/06/24 Page 4 of 9 PageID #: 541367




                                           rchant Portal - Account Summary
                                                                 Account: doug@mdtix.com


The ~grid below shows all the Merchants linked to your account. Once the Class Administrator has determined you are authorized to view information
abolJt these Merchants, you can take additional adions for each, including submitting a Claim, by clicking on the link in the Interchange Fee Total
colutnn. If you do not see a link in the Interchange Fee Total column for a particular Merchant, then you are not authorized to view interchange
transaction information for that Merchant yet. The Class Administrator will contad you when any authorization documentation has been reviewed, if
applicable, or will otherwise contact you to request additional information if needed. On this page, you can also view a record of any Correspondence
sent to you, or use the buttons at the bottom of the page to take additional adions as applicable.


   Account Summary

          -- - ~---·•-•-1                                                                                                                           •-·-·-········-··1

   Show J__.10 -· ;   _J entries                                                                                             Search: [~--·                          I
                       A                   .A         A                   Preferred           Authorization   A                  A    Interchange Fee       ~
                       •                   V          V                                                       V                  V

    ClalmantlD               Control No.        TIN       Merchant Name   Merchant Name   !   Status(V            Claim Status        Total

                                                XXXXX8980 MDTIX COM                           Under Review        No Claim
                                                                                                                  Submitted




                                                                                                                                             ■
   Showing 1 to 1 of 1 entries




                                                                          Export Data
                                                  Case 1:05-md-01720-MKB-JAM Document 9286 Filed 05/06/24 Page 5 of 9 PageID #: 541368
    Registration and settlement question                               wer..i          linboii"•                                                                                       cg

    Doug MDTix cdougOmdtii.com>                                                                                                                                                       I<,
    toinfo ..

    Hello.
    I never ruoefved any documentation by mail. 10 1registered on the website over a month ago.
    The Con,pany Is MOTlx and lhe lasl lour of lhe TIN Is 8980.

    I have not received any conflrmetlon of my registration or any further Information rogordlng the dalm or a claimant ID a5signmenL


    Could you provkte an update and/or acknowtedgomcnt that MDTix Is a logibmate claimant and o rough tlmeline for determlnilg end paying out tho clalm?


    Thank you for your a11'1tonce.



    Doug 561igwn
    MDTlx. llC
    Frederock, Mar,tono 21701
    info@mdtbl: corn
                                                                                                                                                                        ~
    ww-«mcttocoom
    ~
    ~
    ~


                                                                                                                                                                                      .,
0   Paym ent Card Settl em ent clnfoOpaymcntcardsettlement.com>
    to me •
    Dear Doug Seligson,
                                                                                                                                                             Thu.Jon 25, 4;20PM
                                                                                                                                                                                  *
    Thonkyo11foryourfflllll.

    We~ b e ~ to ,....rd\ your lr4dr,. In order ID looote your~ In ovr _ . . _ please pm,tde the a..n.nt ID as shown on your claim form.

    If you ,-_not r....-.d theONn form please - A U . ollho- Wonnadon:

    • Business Name

    .................
    • Your~nome

    • Yoo, email address
    • BN/TIN
    • N'rf and al previous adclrcs$es tNt may be modated wtth your record

    For more lnfonnatlon, please call 1·800-62$-6-440 o, wit the settlement website at www.f~tCarGSe:tttema:rt..tQm.

    R,gards,

    AmandaA.
    PaymentCanl~Ft!e--




    (Message dipped! YJew •alKP mt1H9!1



    Doug MDTix cdougOmd\ut.com>
    to Payment •
                                                                                                                                                             n..,J1n2s. • ·soPM   *   <-,


    Thonl< you for your quick reply.
    I have not received the form by mall, however I did roglster on the QilvmenJcprdsetttomont-com alto back in December.

    Here ls the lnfom,otlon you have requested:
    Busine,,s Name: MOTix, LLC
    Compielo Name: Ooogla1 Slaven Seligson
    Business Address: 10787 Foreet Edge Cirde, New Market. MO 21TT4 (registered addtes1 with the State of MD)
    EmailAd<lre..: ! l l w ~
    EIN: XX-XXXXXXX
    PnNioosAddn,sses: 47 EallAll S&lnla SL F.-rlck. MD 21701 /5 VlslaAY9. Thumiool MO 21788/ POii 123 Frederidc. MO 21705 (1bll In u1a)

    Please advise.
    Thonl< you.
                                                                                                                                                           I\ S-
                                                   Case 1:05-md-01720-MKB-JAM Document 9286 Filed 05/06/24 Page 6 of 9 PageID #: 541369


•   Payment Card Settlement <infoOpoymcntconbettlement.com>
    tomo •
    Dear Doug Sdlgson,

    Thanlc you for your 1!1111111.

    5eUlernent Class Mcmbcr'S ccnslst d, wllh s o m e ~
                                                                                                                                                                                                                                                                                                                                          Jan 26. 2024, 1:40PM
                                                                                                                                                                                                                                                                                                                                                                 ·*



    All persons, bustr-, lll'ld Olher fflllles that hlYe ~ any Vlsa-Btandc:d cards ,nJ/Olf Mmtewd-&nled c.ants In tho Unlb:id Stales far payment from canlhaldan at any time from lanua,y l, 2004, to January ZS, 2019.
    Using a aedit Olf ddllt card docs not quallfy yoa for the stttle!nent unless you also eo:epted tho cards as a farm d payment.

    Claim forms began being sent In Dcambcr 2023, and wlD contmue being sent. lf you do not recdve a dalm form, but belleYe you are II dim member, you m request a dalm form onl!ne at P I Y I D " O ~ or b'f c:elllng 800-625-6440 or b'f wrlllng t o ~

    Blank dalm tonns are Mllable tD downlond on the •Documents" page of the sattlement webslm. A llnk Is 11lso nvallablc at tho bott1lm of the "Submit II Claim" pngc.

    Alt2rnatlwly, yau can go to l l U r l S : l l ~ mrnteo/J.D91n and use the TIN IISSOdated wtth the business to amta II logln. Please note that you wlll nlso ncal to provide doaJmcntatlon showing you haw the right to act on behalf of the mmtant to which the TIN bc1on!Js.

    Ona! It Is dmnnlncd that you tmve nuthorfty to file a dalm on bdllllf d your rtglstered TIN, you Clll'I pnMde your own mathant dlla or dt1er lnrormallon abol4 your business to file II claim 111d imlst the Class Admlnlst1at0r In querying the Defmdanb' daUlbllscs far qull!lfylng lntcrchllnge Fees Pal b'f your business.

    Settlement Poyments wlll be made aft2r llll dalms 11r11 nxel¥ed lll'ld procaKd followlng the Calms Delldllnc d May 31, 2024. PlcllSo be patient.

    For mora lnformntlon, please CIIII l-800-625-6440 or visit the settlement wemle.

    Regards,

    P0ojll R.




•   Doug MDTlx <doug@mdtix.com>
    toPoymcnt •
    Hello,

    It ee«ns os If Ill! of tho rep11os rm got!lng me auto generated.
    Ar. I noltld In my previous reply, I rmmod o login at Iha DJMMOICfta:llllt1JmMD1 com alto bade In December.
    It can bo referenced by the buslnoaa name MDllx, LLC, or 1he EIN XX-XXXXXXX
                                                                                                                                                                                                                                                                                                                                          Jan 27, 2024, 9:22AM
                                                                                                                                                                                                                                                                                                                                                                 *

    What I am 11C10ldng la conl!nnallon that I am nig!slored and that my dalm la under review.
    Please lot me know If lhla Is adoquato lo rev!aw my clain, or I llhould also download and complelo tho clalm fann? la that noceaaary If I already registered on lhe Dita?

    Thank you.




•   Payment Card Settlement •lnfo@poymentcardsettlement.com>
    tomo •
    OS Doug Scllgson,

    Thank you fDr your emall.

    You wlD need to log Into the Merchant Paltal at w w w . ~ mm and follow lnstrudlons far logglng Into the Merchant l'Oltlll. Once logged In, you will ba IISlced to provide your tolzll (ntl!rdllngc Fees far tho Class period. After pnNldlng that lnformlt2on, you wlll be llbla to dick the •FIie a Oalnl" button.
                                                                                                                                                                                                                                                                                                                                         Jan 29. 2024, 9:29AM
                                                                                                                                                                                                                                                                                                                                                                 *

    For more Information, please call l-800-625-6440 or visit the settlement website a t ~

    Regards,

    ShawnM,




•   Doug MDThc •doug@mdtix.com>
    toPaymctnt •
    This Is what my ecccunt summary pago Is llha#ing (allachod)
    I do not know wtl8t my Interchange roes _ , i , and that has never been provided by either procesaar I have used In the paat (Elemon and WoPay).
    Dooa lhe Clasa Admlniatratar haw IICCOa tD these llgurea?
                                                                                                                                                                                                                                                                                                                                     @   Jon 29, 2024, 10:13AM
                                                                                                                                                                                                                                                                                                                                                                 *


     One attachment • Scanned by Gmail ©


                                                                                                                                                                                                                                                                                                                             l-\~
                                                     Case 1:05-md-01720-MKB-JAM Document 9286 Filed 05/06/24 Page 7 of 9 PageID #: 541370
0   Payment Card Settlement <infoOpaymentca,dsonlemenLcom>
    tome ..
                                                                                                                                                                                                                                                                                          Jan JI, 2024, 3:06 PM
                                                                                                                                                                                                                                                                                                                   ·*
    0...- Doug Seligson,

    Thank you fo< your ema/1.

    We are 1oo1<in9 lrCO your lnq<kf and wtl get bod< to you es _ , es ..,..;t,le.

    For more lnlormadon, -       CIII HI00~25-6+IO or visit 11,e _ , _ website ac ~ - -

    Regaros,

    Iman! B.




    Doug MDTix <doug@mdtix.com>                                                                                                                                                                                                                                                        <m' Mar 6, 202•. 8:49AM     *
    to Payment •

    Good morning,

    II has been over a month since your last reply. I am concerned because the claim registration ends In May.
    Hore Is what I have done so tar.

    - Hav;ng not lnlUally received cialm lnformaUon from your flrm, I registorod on the website fn late Oectwnber 2023 undor doug@ ~ - There has been no update to the claim status In the online portal slnce then and the authorization status still ahows es under revfew.
    - I was mailed two authorlz.atlon forms by your fmt in late January 202-'. I'm usumlng it is because during the term I used both WePay and EJovon as card processors.
    - Bolh fonna were compleled and rel\Jmod 10 your firm via USPS Cer1Jfied Mall on FebNa,y 6. 2024. (see attached photo of bolh tracl<lng n,celpts)
    - As of March 6, 2024 I have received no confirmation of my authonzation o, dalm status e4ther In the onHne p<>rtal or through US Mall.


    What I need is a a>nf'lrmaLon from your firm that you have received my doannentation and that a dalm is fonhcomlng.
    The company name ls MOTix, LLC ond tho TIN ends W'I 8980.

    Thank you ro, y04JI attenUon to thls metter.
    (1 ettachmenl)




     One attachment • Scanned by Gmail 0




                                                                                                                                                                                                                                                                                           Mir 7, 2024, 8:54AM

0   Payment Card Settlement cinfoOpaymeritcWsenktment com>
    toffl4' •                                                                                                                                                                                                                                                                                                      *
    OearOougSdlgsoo,

    Thank you for yow emd.

    Ycu mqwyr<qU!resfl#lher _ _ ,, wew!ll resoon<110youonce lnformotlon ls1Milable.

    For mcn Wcrmotion, ploase call l -800-62H,410 or ,i,. 11,e _ , _ - . at ~ L a , m .


    R«;ards.

    Rassfeld N.




                                                                                                                                                                                                                                                                                           Mar l8, 2024, 1:_.8PM

0   Payment Card Settlement ~lnfO'#paymentcardsettiemont.com>
    tome •                                                                                                                                                                                                                                                                                                         *
    0...- Doug Seligson,

     Thank you for your email.



     W. apaloglze fo< the delay In respondlng to \'OUf Inquiry. W. wanted to let you know lhol we an, actively reseorchlng your lnqul,y end wlll rtply es_, es possible. You pDtience Is greatlY - ·

     For man!! lnfotmation. ~ r:aU t--BOC>-6J.5-64"'1 nr vfdt tNt ~ wetd:e at www.PavmentOirdSfltttlifflen.a,m.
                                                                                                                                                                                                                                                                                3\c;
•   Doug MDTix <dougC.mdtlX.c:on'I>
    toPoymont •

    Thank you.
                                                    Case 1:05-md-01720-MKB-JAM Document 9286 Filed 05/06/24 Page 8 of 9 PageID #: 541371

    I am growing quite concerned because II seems as if 1h11 hos been being 'researched' for over two months.
    Certolnfy, lhere are thousnnd1 of other merchanl.l lnvofvod, but I know lhal the deadline Is gfOYl-ing cioser and I don't know how 10 escalate this.

    II should orly require matching up the TIN with the LlC and p,ovldlng the authotttJltlon and lnlercllango amo.r,ts 10 me. Also. I did rotum the two outhcrizatlon loons you sent mo by US Malt.
                                                                                                                                                                                                                                                                                Mot\ W.v 18, 2:13PM
                                                                                                                                                                                                                                                                                                      *
                                                                                                                                                                                                                                                                                                          ..,


    rm not sure what else bi needed to gel me authorized and eligible for the aetnemenL

    Thank )'OU for your a11istance




•   Payment Card Settlement
    tome •

    O..,OougSdi9i<)n.

    Thltlk. you for your paUenc.e whh we researt:htd your lnqul,y.

    Thlnl< you foryourpatlefQ-,.. , . . . - '°"'requetlng r,ga,din,J your proof al Nhortty-.......ucn. The "°"documenlatlon l s , _ In the order that they.,.,__ Ple&se note tha<thls mlew can take time and the det<nnlnation wtl not b e - .
                                                                                                                                                                                                                                                                                 FrLMM 29, 9:25.\M
                                                                                                                                                                                                                                                                                                      *
                                                                                                                                                                                                                                                                                                          ..,



    - . , . . . that registering Is not the same as n11ng •dun.Once you . . ~ and hlw! Nhortty 11> 1e1 on behllt al a ~ you wll b e - ID lie a cllim onlne.

    1r the atAA0ffty status Is "under" ~    °' "conftlct'"', thlt means the Cass AdMnlst1lt0r hll t0 conduct further reYtews bdttt   yo.i   .-e able to Ne a dam for that pattlcullf merchant. The Class ~ YIIUI reach out to vou if addltonM Wormatton b: needed.

    Cairns-, submittod '1a USPS:
    -     note that ot this time, WI do not'"- a spedtc date by wtw,, poyment> wit be..-_
    A runber al things hlw! IX> 1 - , bdote doss members can be paid.

    Anl. the oass -              .,. _       c111m rc:nns., oass - . .

    Second. Che Cass Admlnlstnltor •     ure tt.e: Wormadon It reteM!S en retumeCI dalm forms to c.MOJlate the Ml'ICUrt It befie,f'eS is due to ~ dass member.

    W'd, the Court must approve the lfflOU'lts that wlfl be: dlstrlbul:ed to dass membtn.
    Mt:, the a..t hu approYOd the dllrns distribution a,oounU, the Cllss _ , _ can be!lf<, to send Pl\'ll1<0I> to Class -.s.

    P1ease-.111s-,.__.,toupd,<,thea.ss- , you""""'"'-"""""w0fflllllon--.

    f« ,,,.,,.Warmotlon, -C>II I-IQ0-05-6440 o,...,.the-webWI • ~

    ~

    lmanl B.
    Poymonta.d I n ~ f«-Adnw-lsUm




•   Doug MDTix .cdoug0mdt1lt.com,-
    10 P ~ •

    Ok. thank you.
    rm just glad 10 haw romo PoOi""' ld<nowiedgoment that the claims -              od<nowtodged.
                                                                                                                                                                                                                                                                               Ma, 29. 2021, 9:35AM       ..,




•   Doug MOTix ,dougOmcftix.com,.
    10~ •

    Helo,
    n hal rm, _ , lt!!n..rD!l!!II lince my flnt lnqlrf.
    l'M VERY CONCERNED BECAUSE THE FILING DEADLINE IS NDWA MONTH AWAY ANO:
    1) THE ONLINE PORTAL IS STILL SHOWING MY AUTHORIZATION STATIJS AS UNDER REVIEW.
    2) THE CLAIM STATIJS IS SHOWING AS NO CLAIM SUBMITTED.
                                                                                                                                                                                                                                                                       Fr( Apr26, 3.57PM (8dayugo)
                                                                                                                                                                                                                                                                                                      *
                                                                                                                                                                                                                                                                                                          ..,


    3) THE FILING DEADLINE IS MAY 31 AND THERE HAS BEEN NO ACTION ON MY CLAIM TO DATI:. (that I have been lnfO<mo<I oQ

    I have rm, had numerous phone ccnv.....tions with you, o,ganlzatioo and oondnuo 10 get 'stod<' an_.. aboot m y ~
    I realy need IO krmtwhat olllldly Is going o n - . . . I donl want 10 be ox<:IUdOd ~ there Is no action on you, part by May 31 .
    I rolumOd the dalm ronno (thete wen, two dmete01 proceuon during the c:talm lenn) you malod mo on Fobruaty 6, and have receipts thal tt was deivenld 10 you on February 9.
    Tho oompany namo Is MDTlx. LlC and the TIN b .il-1058980

    PLEASE advise on my statu, with more detail. If I em mlsslng lnformatk>n In the submissk>n, I need to know that ASAP.
    I ..-,.land that INs al lal<es tme. however, Iha deadi.no fo< mo 10 be included Is drawing near and I need ainllrma!ion that my c:q;m b proceeding.

    Thank you fo< your a.sislance In odvanc:e.
                                                                                                                                                                                                                                                                     ~\s
                                                      Case 1:05-md-01720-MKB-JAM Document 9286 Filed 05/06/24 Page 9 of 9 PageID #: 541372
                                                                                                                                                                                                                                  <L




•   Doug MDTIX cdougOmdllx.com>
    to Payment.
    Hollo,
    H hu now boon 1bmaJn1m11D llnce my flllt lnqvhy.
    l'M VERY CONCERNED BECAUSc THE FILING DEADLINE IS NOW A MONTH AWAY AND:
    1) THE ONUHe PORTAL IS STILL SHOWIHG MY AUTHORIZATION STATUS AS UNDER REVIEW.
    2) THE ClAIM STATUS IS SHOWING AS NO a.AIM SUBMITTED.
                                                                                                                                                                                      Frl Af/1 26. 3:57PM (8 days ago)
                                                                                                                                                                                                                         *   4"




    3) THE FILING DEADLINE IS MAY 31 AND THERE HAS BEEN NO ACTION ON MY CLAIM TO DATE. (thal I havo boon Informed of)

    I h:MI now had numorous pllono COl'MltDlltionl wllh your organization und continuo to gel 'atoclt' enswera oboul my Inquiries.
    I rDdly ncod III lulOW wtiat uadly Is going on boc:auso I don, want ll> bo cxdudod II lhole Is no edlon on your part by May 31.
    I rotumod lho claim forms (lhcnl WORI two diffDnlm pn,c:eacn during the c:llllm lonn) you mmlod me on Fo!Jrualy 6, end hllvo n,eclplS that It WIii dellwnd Ill you on FGbNmy 9.
    Tho company namo b MDlbl. LLC and lho TIN la XX-XXXXXXX

    Pl.EASE edv!so on my lll:DIIIS wl!h moro dolllll. 111 am mining lnformatlon In tho 1ubmlllllon, I need to know lhltASAP.
    I undamand that this all takes time, llcJoMMH', the deadllne for me to bo lndudcd la drawing near Bild I need conflnnallon lhat my claim Is pn,coodlng.

    Thank )'OU b' your auls1Dnce In IICMl!lal.




•   lnfo@PaymentC.rdSettlement.com
    tomo •
    Dear 00ug Seligson,

    Thank you for your cmon.

    We 111'1! loolclng Into your 1nq1111y and will get back to you as soon es possll)le.
                                                                                                                                                                                      Frl May 3, 1:29PM (18 houraogo)
                                                                                                                                                                                                                         *   4"




    For mcre Information, please ai!I 1-8ll0-625-6410 or visit tho setllement website 11t WNW PaymentCanlSl;ttlementcpm.

    Regards,

    PolexL




                                                                                                                                                                                      s-\~
